                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

                                               )
UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )
                                               )        Case No. 3:22-CR-00282
GLEN CASADA and                                )        District Judge Eli J. Richardson
CADE COTHREN,                                  )        Magistrate Judge Alistair Newbern
                                               )
       Defendants.                             )
                                               )

                        DEFENDANTS’ JOINT NOTICE OF FILING

       Comes now Defendants Cade Cothren and Glen Casada, by and through undersigned counsel,

and hereby gives the Court notice of filing Exhibit A to Defendant Glen Casada’s Motion in Limine

#2 (Doc. No. 186, hereinafter “Motion”), which moves the Court for an Order prohibiting the

prosecution from introducing or eliciting evidence of mail services, campaign, and caucus work that

were not funded by a State Representatives’ postage and printing allowance as irrelevant, unfairly

prejudicial, cumulative, and would cause confusion to the jury. Mr. Cothren joined Mr. Casada’s

Motion (Doc. No. 191).

       The exhibit is collective and includes a screenshot and download of the online campaign

finance disclosures by the Tennessee House of Representatives Republican Caucus expenditures for

Phoenix Solutions in 2020. The parties anticipate further discussion of this Motion and exhibit at the

telephonic status conference scheduled for April 16, 2025 at 9 a.m.




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                                         Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing motion was electronically filed with the

Clerk on April 15, 2025, and service was made upon the following via CM/ECF and/or by email.

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